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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )    Case No. 21-cr-00129-ABJ
                                   )
GABRIEL GARCIA                     )
                                   )
                                   )
                 Defendant         )
                                   )




     DEFENDANT GABRIEL GARCIA’S MOTION TO MODIFY TERMS AND
                    CONDITIONS OF RELEASE



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      NOW COMES Defendant Gabriel Garcia by and through his undersigned

counsel of record, William L. Shipley, and files this Motion to Lift Home

Detention (Temporary), and requests this Honorable Court enter its Order

giving permission for Mr. Garcia’s home detention requirements to be lifted

from October 4th, 2024, thru November 11th, 2024 and as grounds states as

follows:

      1. Mr. Garcia’s sentencing date is scheduled for December 6th, 2024 in

the District of Columbia.

      2. Mr. Garcia’s conditions of supervision include home detention along

with GPS ankle monitoring.

      3. Mr. Garcia has three minor children who will be traveling back to

Florida from Texas to spend a month with their father in Florida.

      4. Mr. Garcia’s home detention includes having to provide probation an

itinerary of any necessary outings no later than 2 days in advance. Probation

then has to approve or disapprove the schedule.

      5. Mr. Garcia wants to be able to enjoy time with his children without the

stress of home detention requirements, temporarily, while the children are in

Florida.

      6. With three children ranging in age, it is reasonable for Mr. Garcia’s

home detention to be lifted temporarily so that the children can enjoy their stay

with their father and the paternal side of the family and enjoy spontaneous

outings together as families do.

      7. Mr. Garcia’s ankle monitor will remain and Mr. Garcia will adhere to a

curfew of 12:00 pm - 6:00 am.
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      8. As this is an uncommon request for a 37-day temporary lifting of

home detention, in the best interest of Mr. Garcia’s family and importantly his

three children, defense hopes the Government and the Court can make an

exception.

      WHEREFORE, Defendant respectfully requests this Honorable Court

consider this Motion to Lift Home Detention (Temporary), grant this Motion,

and enter its Order lifting Mr. Garcia’s home detention temporarily between the

dates of October 4th, 2024, and November 11th 20th, 2024 with GPS

monitoring and 12:00 pm – 6:00 am curfew still in effect.



Dated: October 2, 2024                     Respectfully Submitted,

                                           /s/ William L. Shipley
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